                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE


   UNITED STATES OF AMERICA and                     )
   STATE OF TENNESSEE                               )
   ex rel. JANELLE COX,                             )
                                                    )
                  Plaintiffs,                       )           No. 3:18-cv-00154
                                                    )           MATTICE/POPLIN
                         v.                         )
                                                    )           JURY TRIAL DEMANDED
   ASSOCIATED PAIN SPECIALISTS, P.C.,               )
                                                    )
                  Defendant.                        )
                                                    )


                     UNITED STATES’ COMPLAINT IN INTERVENTION

         The United States of America (“United States” or “Plaintiff”), by and through J. Douglas

  Overbey, United States Attorney for the Eastern District of Tennessee, files this Complaint in

  Intervention against Defendant Associated Pain Specialists, P.C. (“Defendant”). The United

  States alleges as follows:

                                   NATURE OF THE ACTION

         1.      The United States brings this action under the False Claims Act, 31 U.S.C. §§

  3729-3733 (“FCA”), to recover losses sustained by the Medicare and Medicaid Programs. The

  United States also brings this action to recover damages and other monetary relief under the

  common law or equitable theories of payment under mistake of fact, unjust enrichment and

  conversion.

         2.      Medicare is a federally-funded healthcare program, entitlement to which is based

  on age, disability, or affliction with end-stage renal disease. 42 U.S.C. §§ 426, 426-1.




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         3.      Medicaid is a federal healthcare program that authorizes federal grants to states

  for Medicaid programs to provide medical assistance to persons with limited income and

  resources. 42 U.S.C. §1396 et seq. Medicaid programs are jointly financed by the federal and

  state governments, and are administered by the states in accordance with federal statutes and

  regulations pursuant to state plans, which must be approved by the Secretary of the Department

  of Health and Human Services. 42 C.F.R. § 430.0. In Tennessee, the state Medicaid program is

  commonly known as TennCare.

         4.      Among other things, Medicare and Medicaid pay for doctor visits and medically

  necessary diagnostic tests and preventive services.

         5.      Defendant is a local healthcare provider that focuses on interventional pain

  management.

         6.      From 2016 through 2018, Defendant performed tests known as Vital Signs

  Assessment Tests (“VSAT”) and submitted claims for payment to Medicare and

  Medicaid/TennCare for performing VSATs on various Medicare and TennCare beneficiaries.

         7.      The VSATs consist of three distinct tests: pulse wave velocity (arterial elasticity),

  heart rate variability, and sudomotor function.

         8.      Pulse wave velocity measures the speed at which the heartbeat’s wave of pressure

  passes through the arteries.

         9.      Heart rate variability measures changes in time between heartbeats.

         10.     Sudomotor function measures the movement of sweat. It assesses the skin’s

  sympathetic activity by measuring the change in electrical potential of the skin due to a small

  amount of sweat production.




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            11.   Heart rate variability and sudomotor function are indicators of the autonomic

  nervous system (“ANS”), while pulse wave velocity is an indicator for adverse cardiovascular

  events.

            12.   Medicare covers only reasonable and necessary medical services. 42 U.S.C. §

  1395y(a)(1)(A); see also 42 U.S.C. § 1320c-5(a)(1)-(2) (providers have a duty to provide

  services only when they are medically necessary and meet professionally recognized standards of

  health care).

            13.   Defendant’s claims for payment for VSAT testing were false and fraudulent

  because the tests were medically unnecessary, or experimental, resulting in hundreds of

  thousands of dollars of reimbursement which Defendant would not have been paid had it not

  been for Defendant’s fraudulent claims.

            14.   Defendant knew, was deliberately ignorant or recklessly disregarded that the

  VSATs were medically unnecessary, or experimental, yet Defendant submitted claims for

  payment to Medicare and TennCare nonetheless.

                                          JURISDICTION

            15.   This Court has subject matter jurisdiction to entertain this FCA action under 31

  U.S.C. § 3730(a) and 28 U.S.C. §§ 1331 and 1345, and supplemental jurisdiction to entertain

  common law or equitable claims under 28 U.S.C. § 1367(a).

            16.   This Court has personal jurisdiction over Defendant pursuant to 31 U.S.C. §

  3732(a), because Defendant resides in, and/or transacts and has transacted business in this

  District, and because Defendant committed acts within this District that violated 31 U.S.C. §

  3729.




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                                                 VENUE

          17.    Venue is proper in the Eastern District of Tennessee pursuant to 31 U.S.C. § 3732

  and 28 U.S.C. § 1391(b) and (c) because Defendant resides and/or transacts business in this

  District, and because Defendant committed acts within this District that violated 31 U.S.C. §

  3729.

                                               PARTIES

          18.    The United States brings this action on behalf of the Department of Health and

  Human Services (“HHS”) and the Centers for Medicare and Medicaid Services (“CMS”), which

  administers the Medicare program, as well as the federal aspects of Medicaid.

          19.    Defendant is a business who operates its principal office in Knoxville, Tennessee.

                                   THE FALSE CLAIMS ACT

          20.     The FCA provides for the award of treble damages and civil penalties for, inter

  alia, knowingly submitting, or causing the submission of, false or fraudulent claims for payment

  to the United States government, or for knowingly making, using, or causing to be made or used,

  a false record or statement material to a fraudulent claim. 31 U.S.C. § 3729(a)(1).

          21.    The FCA defines the terms “knowing” and “knowingly” to mean that a person,

  with respect to information: (1) has actual knowledge of the information; (2) acts in deliberate

  ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of the truth or

  falsity of the information. 31 U.S.C. § 3729(b)(1)(A)(i-iii). The FCA does not require proof of

  specific intent to defraud.” 31 U.S.C. § 3729(b)(1)(B).

                                              MEDICARE

          22.    In 1965, Congress enacted Title XVIII of the Social Security Act establishing the

  Medicare program to pay for the costs of certain healthcare services. See 42 U.S.C. §§ 1395 -



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  1395gg. A person’s entitlement to Medicare is based on age, disability, or affliction with end-

  stage renal disease. See 42 U.S.C. §§ 426, 426-1.

         23.     While the Medicare program has several parts (see 42 U.S.C. §§ 1395C-1395I),

  the allegations herein concern claims submitted by Defendants under Medicare Part B

  (“Supplementary Medical Insurance for the Aged and Disabled”), which covers, among other

  services, diagnostic tests for symptoms or signs of illness or injury. See 42 U.S.C. § 1395k; 42

  C.F.R. §§ 410.10, 410.12, 410.32, 411.15, 424.10.

         24.     The Secretary of HHS (the “Secretary”) has oversight authority for the Medicare

  Program and administers the program through its agency, CMS. CMS, in turn, contracts with

  private insurance carriers to administer and pay claims from the Medicare Trust Fund. See 42

  U.S.C. § 1395u. Claims submitted for reimbursement are to be paid in accordance with the

  Social Security Act, Code of Federal Regulations, and Medicare Rules and Regulations

  promulgated by CMS.

         25.     Since November 2006, Medicare Administrative Contractors (“MACs”) have

  generally acted on behalf of CMS to process and pay Part B claims and perform administrative

  functions on a regional level. See 42 U.S.C. § 1395kk-1; 42 C.F.R. § 421.400, et seq.; 71 F.R.

  67960-01, at 68181 (Nov. 24, 2006).

         26.     The Part B MAC for the region that encompassed Tennessee between 2016 and

  2018 was Cahaba Government Benefit Administrators, LLC (“Cahaba”). Beginning in February

  2018, the Part B MAC contract was awarded to Palmetto GBA, LLC.

         27.     In order to participate in the Medicare program, a provider must submit a

  Medicare Enrollment Application, CMS-855I promising to comply with applicable statutes,

  regulations and guidelines, in order to be reimbursed by Medicare.



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         28.     CMS-855I requires that the signatory certify as follows:

                 I agree to abide by the Medicare laws, regulations and program
                 instructions that apply to me or to the organization listed in Section 4A of
                 this application…. I understand that payment of a claim by Medicare is
                 conditioned upon the claim and the underlying transaction complying with
                 such laws, regulations, and program instructions (including, but not
                 limited to, the Federal anti-kickback statute and the Stark law), and on the
                 supplier’s compliance with all applicable conditions of participation in
                 Medicare.

                 I will not knowingly present or cause to be presented a false or fraudulent
                 claim for payment by Medicare, and I will not submit claims with
                 deliberate ignorance or reckless disregard of their truth or falsity.

         29.     Additionally, an authorized official must sign the “Certification Section” in

  Section 15 of Form CMS-855I, which obligates the provider to comply with all applicable laws,

  regulations, and program instructions of the Medicare program.

         30.     Defendant signed a certification statement in Section 15 of CMS-855I indicating

  that it understood that it was required to comply with all Medicare laws, regulations, and

  program instructions.

         31.     Defendant also agreed to learn and adhere to Medicare and other federal

  healthcare program laws, regulations, and program instructions. Medicare service providers

  have a duty to familiarize themselves with Medicare’s reimbursement rules, including those set

  forth in the Medicare Manuals.

         32.     Because it is not feasible for Medicare personnel to review every patient’s

  medical records for the millions of claims for payments they receive from providers, the program

  relies on providers to comply with Medicare requirements and trusts providers to submit truthful

  and accurate certifications and claims.




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                            COVERAGE FOR DIAGNOSTIC TESTS

          33.    Medicare covers only reasonable and necessary medical services. 42 U.S.C. §

  1395y(a)(1)(A); see also 42 U.S.C. § 1320c-5(a)(1)-(2) (providers have a duty to provide

  services only when they are medically necessary and meet professionally recognized standards of

  healthcare). Medicare laws specifically exclude from payment services that are not medically

  reasonable and necessary. 42 U.S.C. § 1395y(a)(1)(A).

          34.    TennCare laws contain similar provisions regarding medical necessity and

  reasonableness. See Tenn. Code Ann. § 71-5-144.

          35.    The Secretary is responsible for specifying services covered under the “reasonable

  and necessary” standard. See 42 U.S.C. § 1395ff(a).

          36.    The Secretary provides guidance to eligible providers pursuant to a series of

  manuals published by CMS. CMS Medicare Program Integrity Manual, Chapter 3, Section

  3.6.2.2, states that items are “reasonable and necessary” and thus covered by Medicare if they are

  “not experimental or investigational.”

          37.    The Secretary issues national coverage determinations that specify whether

  certain items, services, procedures, or technologies are reasonable, necessary, and covered under

  42 U.S.C. § 1395ff(f)(1)(B). MACs, in turn, make local coverage determinations (“LCDs”).

  LCDs establish whether or not a particular item or service is covered on an intermediary or

  carrier-wide basis, in accordance with section 1395y(a)(1)(A). 42 U.S.C. § 1395ff(f)(2)(B).

          38.    Cahaba, the MAC for Tennessee at the time, issued an LCD that applies to ANS

  testing portion of the VSAT, which was in effect when Defendant began using the VSAT on its

  patients.




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         39.       One potentially appropriate use for ANS testing is to diagnose or monitor rare

  autonomic nervous system conditions, but only after clinical examination, conventional tests, and

  treatments have ruled out more common conditions.

         40.       The LCD specifically states that ANS testing is not medically reasonable and

  necessary when other causes of symptoms have not been excluded; when such testing is not used

  in clinical decision-making and patient management; and when such testing is performed by

  physicians who do not have knowledge, training and expertise to perform and interpret the tests.

  See LCD 34500 – Medicine: Autonomic Function Tests (eff. 10/1/2015).

         41.       Furthermore, Medicare does not pay for diagnostic or laboratory services that

  were ordered for screening or investigation for possible conditions. Symptoms or signs of illness

  or injury are required prior to payment from Medicare for services rendered. 42 C.F.R. §

  411.15(a)(1) .

         42.       For those diagnostic tests that Medicare does cover, such as certain cardiovascular

  screening tests, such test must be ordered by a “physician who furnishes a consultation or treats a

  beneficiary for a specific medical problem and who uses the results in the management of the

  beneficiary's specific medical problem.” 42 C.F.R. § 410.32 (emphasis added).

         43.       Submission of claims to Medicare knowing that the treatment is medically

  unnecessary constitutes a violation of the FCA.

                                 CLAIMS FOR REIMBURSEMENT

         44.       Providers are typically compensated for the services they provide to Medicare

  beneficiaries on a “fee-for-service” basis as determined by Medicare's fee schedule. 42 U.S.C. §

  1395w-4.




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         45.     To obtain compensation from Medicare, a provider must submit a claim for

  services provided on a CMS 1500 form or its electronic equivalent known as the 837P Form.

         46.     The provider certifies on the CMS 1500 claim that the information provided is

  “true, accurate and complete;” the services billed on the form were “medically indicated and

  necessary;” and the provider understands that “payment and satisfaction of this claim will be

  from federal and state funds, and that any false claims, statements, or documents, or concealment

  of a material fact, may be prosecuted under applicable Federal and State laws.”

         47.     Further, healthcare providers are prohibited from knowingly presenting or causing

  to be presented claims that represent a pattern of items or services that the person knew or should

  have known were not medically necessary, or knew or should have known were false or

  fraudulent. 42 U.S.C. § 1320A-7a(a)(1); 1320a-7b(a)(1-3)(i) (Medicare provider who defrauds

  Medicare is guilty of a felony, punishable by fines and imprisonment).

         48.     The CMS 1500 form must include the services provided using Current Procedural

  Terminology Codes (“CPT”) and/or Healthcare Common Procedure Coding System Level II

  Codes (“HCPCS”) to indicate to CMS the specific services rendered for which the provider is

  seeking reimbursement. CPT codes are documented and maintained by the American Medical

  Association.

         49.     In addition to a CPT or HCPCS code, providers are also required to include a

  diagnosis code, or ICD-10-CM, with each claim, which describes the diagnosis or medical

  condition associated with a particular provider claim to Medicare. See 42 C.F.R. § 424.32.

         50.     ICD-10-CM is used for diagnoses on inpatient discharges and for other services

  provided on or after the implementation of ICD-10-CM [effective October 1, 2015]. Medicare




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   Program Integrity Manual (Pub. 100-08), Chapter 3.6.2.4 Coding Determinations. CMS

   documents and maintains current diagnosis or ICD-10 codes.

          51.     For instance, a G60.9 diagnosis code indicates that the patient is suffering from

   idiopathic hereditary neuropathy (“IHN”), a rare autonomic nervous system condition. IHN is

   nerve damage that interferes with the functioning of the peripheral nervous system, nerves which

   connect the brain and spinal cord to the rest of the body, for which a cause cannot be determined.

          52.     Generally, once a provider submits CMS Form 1500 or 837P Form to Medicare,

   the claim is paid directly to the provider without any review of supporting documentation,

   including medical records.

                                           ALLEGATIONS

          53.     Between 2016 and 2018, Defendant submitted claims for medically unnecessary

   and non-covered VSAT screening tests to Medicare and Medicaid in order to obtain

   reimbursements for these services.

          54.     Given that these claims were medically unnecessary and non-covered tests, they

   were false under the FCA.

          55.     The medically unnecessary and non-covered claims were submitted using the

   following four CPT codes: 93040, 93923, 95923, and 95924.

          56.     According to the CPT manual, CPT code 93040 is used to bill for an

   electrocardiographic recording “appropriate when an order for the test is triggered by an event.”

   The rhythm strip produced by this test is used to diagnose either the presence or absence of an

   arrhythmia, a condition in which the heart beats with an irregular rhythm




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          57.     CPT code 93923 is used for claims submitted for bilateral upper or lower

   extremity arterial studies. The CPT manual states that this noninvasive test is used to measure

   extremity blood flow in relation to a blockage and sudomotor functioning or sweating.

          58.     CPT code 95923 is for sudomotor testing. Sudomotor testing includes one or

   more of the following quantitative sudomotor axon reflex test (“QSART”), silastic sweat imprint,

   thermoregulatory sweat test, and changes in sympathetic skin potential.

          59.     CPT code 95924 is used for combined parasympathetic and sympathetic

   adrenergic function testing with at least five minutes of passive tilt.

          60.     According to the CPT Manual, the need for each of these types of tests must be

   supported by documentation in the file, with a specific order for the test, followed by a separate,

   signed, written, and retrievable report.

          61.     The VSAT tests performed by Defendant were not warranted on the basis of

   information in patient records; were duplicative of less costly alternatives; were ordered on the

   basis of diagnoses that were inconsistently documented in and unjustified in patient records; and

   significantly, were not used to benefit patients as evidenced by the fact that the VSAT results did

   not alter the course of treatment provided to Defendant patients.

          62.     A majority of Defendant’s VSAT tests that were paid for by Medicare were

   submitted with a diagnosis code for the rare neurological disorder, IHN (G60.9).

          63.     Upon information and belief, before 2016 when Defendant began billing for

   VSATs, Defendant never submitted a claim to Medicare with a G60.9 diagnosis code.

          64.     In 2016 and 2017, Defendant submitted over three-thousand (3,000) claims to

   Medicare that included a G60.9 diagnosis code. Each claim that included a G60.9 diagnosis was

   for the performance of a VSAT.



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          65.     In 2018, though Defendant continued to submit claims for VSAT testing,

   Defendant submitted only five (5) claims to Medicare that included a G60.9 diagnosis code.

          66.     Defendant falsified patients’ diagnoses to reflect a diagnosis of IHN, when in fact

   the patients’ did not have IHN, in an attempt to justify the VSAT testing it performed.

          67.     As part of its attempt to justify an IHN diagnosis, Defendant utilized a “Pre-

   evaluation Questionnaire” (the “Questionnaire”) completed by patients and designed to falsely

   support diagnoses intended to justify VSAT testing.

          68.     Defendant also employed a “Pre-Evaluation Answer Key” (the “Coding Key”)

   which corresponded with the format of the Questionnaire and the questions contained therein.

          69.     The Questionnaire included questions for patients such as “Do you ever have pain

   in your arm(s) and/or leg(s)?”

          70.     If a patient answered “yes” to that question, for example, the Coding Key dictated

   that Defendant’s coders should submit the VSAT claim with a G60.9 patient diagnosis (IHN).

          71.     Defendant’s patient medical records, including progress notes, do not support a

   diagnosis of IHN, and the diagnoses noted by the providers in patient charts do not match the

   diagnoses listed in the claims submitted for reimbursement. Additionally, Defendant providers

   rarely, if ever, talked with patients about IHN, signifying that Defendant providers were not

   using the VSAT results for treatment or diagnosis of patients.

          72.     The statements were false under the FCA as Defendant was not treating Medicare

   beneficiaries for IHN as the ICD-10 Codes indicated.

          73.     Defendant knowingly utilized the false diagnosis code in an effort to increase the

   likelihood that Medicare would pay the VSAT claims.




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             74.   In other instances, Defendant filed claims for VSATs and purportedly used the

   VSAT to screen patients for risk of cardiovascular disease (“CVD”), specifically, heart attack or

   stroke.

             75.   Such CVD screening tests were not medically necessary because they were

   duplicative of less costly-alternatives.

             76.   Likewise, upon information and belief, Defendant rarely if ever reviewed the

   CVD findings of the VSAT with any of its patients.

             77.   Upon information and belief, Defendant never changed any Medicare

   beneficiaries’ treatment plans based on the VSAT test results, and accordingly Defendant’s

   providers did not use the results of the VSAT test in the management of the beneficiary's specific

   medical problem. 42 C.F.R. § 410.32.

             78.   Defendant providers also purportedly ordered VSAT testing to quantify pain.

             79.   Neither the VSAT nor any other medical device is accepted in the medical

   community as capable of measuring pain. The standard method of assessing pain is to ask a

   patient how severe their pain is on a scale of one to ten. Any VSAT testing for the purpose of

   measuring pain is experimental and investigational, and it is therefore not reimbursable by

   Medicare.

             80.   Upon information and belief, Defendant had one of its staff technicians perform

   the VSAT testing without any knowledge or training on how to use the VSAT equipment.

             81.   Upon information and belief, for at least the first ten (10) months that Defendant

   performed VSAT testing, from January 2017 to November 2017, the test results were illegible

   and blatantly incorrect due to malfunctioning equipment and untrained operators.




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          82.     In sum, Defendant acted with actual knowledge, deliberate ignorance or reckless

   disregard of the laws, regulations, and guidance applicable to the federal healthcare programs

   when submitting claims for screening tests performed with a VSAT, procedures and services that

   Defendant knew were not medically reasonable or necessary.

          83.     The VSAT testing that Defendant performed on Medicare beneficiaries was not

   medically necessary and performed only for financial gain.

                                 SPECIFIC PATIENT EXAMPLES

          Patient 1

          84.     On January 26, 2017, Patient 1 was seen by Defendant’s medical provider for a

   primary complaint of low back pain. Defendant conducted a VSAT test that day and noted the

   following in the progress notes:

                  VSAT: CVD Risk Assessment, HRV, Pulsewave Velocity, Sudomotor
                  Instruction: VSAT ordered in chronic pain patient to assess a quantitative
                  measure of the body’s experience of pain which will be used to determine
                  changes in medication, treatments, and to help determine aberrant drug-
                  seeking behavior.

          85.     Defendant submitted a claim for payment to Medicare for Patient 1’s office visit

   using ICD-10 code G8929 (other chronic pain), and in the claim for payment for the VSAT

   under CPT codes 93923, 93040, and 95924, it used ICD-10 code G60.9 fraudulently indicating a

   diagnosis of IHN.

          86.     The need for VSAT was not supported by the documentation in Patient 1’s file.

          87.     The VSAT was not medically necessary.

          88.     The VSAT results were not used to alter or amend treatment for Patient 1.




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           Patient 2

           89.     Also on January 26, 2017, Patient 2 was seen by Defendant’s medical provider for

   a primary complaint of neck pain. Defendant performed a VSAT on Patient 2 despite there was

   no specific order for the test.

           90.     The need for VSAT was not supported by the documentation in Patient 2’s file.

           91.     The VSAT was not medically necessary.

           92.     The results of the VSAT were not discussed with Patient 2. Similarly, there was

   no discussion of IHN with Patient 2 during his visit.

           93.     Defendant treated Patient 2 for several months prior to performance of the VSAT,

   yet at no point prior to the performance of the VSAT did Defendant indicate an IHN diagnosis in

   its Medicare claims. Rather, prior to performance of the VSAT, Defendant stated in its

   submission to Medicare that Patient 2 had a diagnosis of “Other chronic pain” or “Other chronic

   postprocedural pain.”

           94.     Nonetheless, when Defendant submitted a claim to Medicare for payment for the

   VSAT under CPT codes 93923, 93040, and 95923, it did so using ICD-10 code G60.9

   fraudulently indicating a diagnosis of IHN.

           Patient 3

           95.     On June 16, 2016, Patient 3 was seen by Defendant’s medical provider for a

   primary complaint of neck pain.

           96.     A VSAT was ordered that day, and the progress note states,

                   HRV, Pulsewave Velocity, Sudomotor
                   Instructions: VSAT ordered in chronic pain patient to assess a quantitative
                   measure of the body's experience of pain which will be used to determine
                   changes in medication, treatments, and to help determine aberrant drug-
                   seeking behavior.



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           97.     A VSAT was performed on July 15, 2016, and Defendant submitted a claim for

   payment for the VSAT under CPT codes 93923, 93040, and 95923 while using ICD-10 code

   G60.9 fraudulently indicating a diagnosis of IHN.

           98.     Patient 3 was treated by Defendant before and after the date the VSAT was

   performed, yet the only time that Defendant included a diagnosis of IHN was with the claims for

   the VSAT. On the claims for office visits on other dates of service, the diagnoses that Defendant

   submitted were “Fusion of spine, cervical region” and “Other chronic pain.”

           99.     The need for VSAT was not supported by the documentation in Patient 3’s file.

           100.    The VSAT was not medically necessary.

           101.    Based on the patient records, the results of the VSAT were not discussed with

   Patient 3. Similarly, there was no discussion of IHN with Patient 3 during his visit.

                                   PLAINTIFF’S CAUSES OF ACTION

                                                 COUNT I
                              (False Claims Act: Presentation of False Claims)
                                         31 U.S.C. § 3729(a)(1)(A)

           102.    Plaintiff realleges and incorporates by reference all of the foregoing paragraphs of

   this complaint as if fully set forth.

           103.    Defendant, knowingly presented or caused to be presented false or fraudulent

   claims for payment or approval to the United States, including claims for reimbursement for

   services rendered unlawfully.

           104.    By virtue of the false or fraudulent claims made by the Defendant, the United

   States suffered damages and therefore is entitled to multiple damages under the FCA plus a civil

   penalty for each violation.




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                                                COUNT II
                  (False Claims Act: False Statements Material to Claim Reimbursement)
                                        31 U.S.C. § 3729(a)(1)(B)

           105.     Plaintiff realleges and incorporates by reference all of the foregoing paragraphs of

   this complaint as if fully set forth.

           106.     As set forth above, Defendant knowingly made, used, or caused to be made or

   used a false record or statements material to false or fraudulent claims in violation of 31 U.S.C. §

   3729(a)(1)(B).

           107.     Plaintiff relied on materially false statements or records provided by Defendant in

   paying Defendant for the false and fraudulent claims.

           108.     By virtue of the false or fraudulent claims submitted or caused to be submitted by

   Defendant, the United suffered damages and therefore is entitled to multiple damages under the

   FCA plus a civil penalty for each violation.

                                                COUNT III
                                       (Payment under Mistake of Fact)

           109.     This is a common law claim for the recovery of monies paid by the United States

   during the relevant time period to Defendant as a result of mistaken understanding of fact. This

   Court has jurisdiction pursuant to 28 U.S.C. § 1367(a).

           110.     Plaintiff paid Defendant for claims for services that were not reasonable and

   necessary for the diagnosis or treatment of individual patients as required by Medicare and

   Medicaid. Plaintiff made these payments without knowledge of material facts and under the

   mistaken belief that Defendant was entitled to receive payment for such claims when it was not.

   Plaintiff’s mistaken beliefs were material to its decision to pay Defendant for such claims.

   Accordingly, Defendant is liable to make restitution to Plaintiff for the amounts of the payments

   made in error to it by Plaintiff.

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                                               COUNT IV
                                            (Unjust Enrichment)

           111.    This is a common law claim for unjust enrichment. This Court has jurisdiction

   pursuant to 28 U.S.C. § 1367(a).

           112.    Plaintiff reallages and incorporates by reference all of the foregoing paragraphs of

   this complaint as if fully set forth.

           113.    By submitting claims for payment for services that were not provided or were not

   medically necessary, the Defendant received funds belonging to the United States, for which it

   was not entitled.

                                                COUNT V
                                               (Conversion)

           114.    This is a common law claim for conversion. This Court has jurisdiction pursuant

   to 28 U.S.C. § 1367(a).

           115.    Plaintiff reallages and incorporates by reference all of the foregoing paragraphs of

   this complaint as if fully set forth.

           116.    By submitting claims for payment for services that were not medically necessary,

   the Defendant obtained and withheld funds belonging to the United States, exercising dominion

   and control over the property of the United States, commingling the property of the United States

   with its own and making it impossible to locate the property of the United States.

                                           REQUEST FOR RELIEF

           117.    The United States demands and requests that judgment be entered in its favor

   against Defendant, as follows:

                  a. On Counts I-II under the False Claims Act, as amended, for the amount of the

                       United States’ damages, trebled as required by law, and such civil penalties as



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                      are required by law, together with all such further relief as may be just and

                      proper.

                  b. On Counts III-V for the amount of the United States’ damages, and such civil

                      penalties as are required by law, together with all such further relief as may be

                      just and proper.

                  c. All other and further relief as the Court may deem just and proper.

                                         JURY TRIAL DEMAND

           Pursuant to Federal Rule of Civil Procedure 38(b), the United States demands a trial by

   jury of all issues so triable.

   Dated: August 29, 2019

                                                  Respectfully submitted,

                                                  J. DOUGLAS OVERBEY
                                                  United States Attorney

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